Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 1 of 9 Page|D 4

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNES SEE

 

EASTERN DIVISION
MICHAEL COLLIER, )
Plaintiff, §
v. § No. 04-1335-T-An
COMMISSIONER OF §
SOCIAL SECURITY, )
Defendant. §

 

ORDER AFFIRMING DECISION OF COMMISSIONER

 

Plaintiff has filed this action to obtain judicial review of Defendant Comniissioner's
final decision denying his application for disability insurance benefits under sections 2 l6(i)
and 223 of the Social SecurityAct (“Act”). Plaintiff‘s application for benefits, filed on April
17, 2003, Was denied initially and upon reconsideration by the Social Security
Adrninistration. Plaintiff then requested a hearing before an administrative law judge
(“ALJ”), which Was held on April 20, 2004.

On August 26, 2004, the ALJ issued a decision, finding that Plaintiffwas not entitled
to benefits The appeals council affirmed the ALJ's decision. This decision became the
Commissioner's final decision Plaintiff then filed this action, requesting reversal of the
Coniniissioner's decision. For the reasons set forth beloW, the decision of the Commissioner

is AFFIRMED.

with Rule 58 and,'or 79 (a) FF\CP on

Thls document entered on the docket sheet n compliance @
9 a 0 5“

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 2 of 9 Page|D 5

Pursuant to 42 U.S.C. § 405(g), a claimant may obtain judicial review of any final
decision made by the Commissioner after a hearing to which she was a party. “The court
shall have the power to enter, upon the pleadings and transcript of the record, a judgment
affirming, modifying, or reversing the decision of the Commissioner of Social Security, With
or without remanding the cause for a rehearing.” l_d. The court‘s review is limited to
determining whether or not there is substantial evidence to support the Commissioner's
decision, 42 U.S.C. §405(g); antt v. Secretarv ofHealth and Human Servs., 974 F.2d 680,
683 (6"‘ Cir. 1992); Cohen v. Secretarv of Health and Human Servs., 964 F.2d 524, 528 (6"1

Cir. 1992), and whether the correct legal standards were applied Landsaw v. Secretarv of

 

Health and Human Servs., 803 F.2d 211, 213 (6th Cir. 1986).

The Commissioner, not the court, is charged with the duty to weigh the evidence, to
make credibility determinations and resolve material conflicts in the testimony, and to decide
the case accordingly w Crum v. Sullivan, 921 F.2d 642, 644 (6th Cir. 1990); Garner v.
H_e_ckler, 745 F.2d 383, 387 (6“‘ Cir. 1984). When substantial evidence supports the
Commissioner's determination, it is conclusive, even if substantial evidence also supports
the opposite conclusion. Mullen v. Bowen, 800 F.2d 535, 545 (6th Cir. 1986). A reviewing
court must defer to findings of fact by an appeals council when those findings conflict with
the factual findings of the ALJ. ld_. at 545.

Plaintiff was fifty-three years old with a college education on the date of the hearing

before the ALJ. R. at 191, 195-196. Plaintiff alleged December l l, 2002, as the date of the

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 3 of 9 Page|D 6

onset of his disability, due to a leg injury, diabetes, emphysema, and nosebleeds. R. at 14,
56, 60. Prior to that date, he had worked as a soil conservationist and as an agricultural
representative for a bank. R. at 193-196.

In his decision, the ALJ enumerated the following findings: (l) Plaintiff met the
disability insured status requirements through the date of this decision; (2) Plaintiff has not
engaged in substantial gainful activity since the alleged onset of disability; (3) Plaintiff has
degenerative disc disease, emphysema, diabetes, and osteoarthritis which are considered
severe based on the requirements in the Regulations, 20 C.F.R. § 404.1520(0), but he does
not have an impairment or combination of impairments listed in or medically equal to one
listed in Appendix l, Subpart P, Regulations No. 4; (4) Plaintiff" statements concerning his
impairments and their impact on his ability to work are not entirely credible; (5) Plaintiff has
the residual functional capacity to lift up to ten pounds occasionally, stand/walk two hours
in an eight hour workday, and sit six hours in an eight hour workday; (6) Plaintiff"s past
relevant work did not require the performance of work functions precluded by his medically
determinable impairments; (7) Plaintiff’ s impairments do not prevent him from performing
his past relevant work; (8) Plaintiff was not under a “disability” as defined in the Act at any
time through the date of this decision

The Social Security Act defines disability as the inability to engage in substantial
gainful activity. 42 U.S.C. § 423(<1)(]). The claimant bears the ultimate burden of

establishing an entitlement to benefits Born v. Secretarv of Health and Human Servs., 923

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 4 of 9 Page|D 7

F.2d 1168, 1173 (6th Cir. 1990). The initial burden of going forward is on the claimant to
show that he is disabled from engaging in his former employment; the burden of going
forward then shifts to the Commissioner to demonstrate the existence of available
employinth compatible with the claimant's disability and background Ld.

The Commissioner conducts the following, five~step analysis to determine if an
individual is disabled within the meaning of the Act:

l. An individual who is engaging in substantial gainful activity will not be
found to be disabled regardless of medical findings

2. An individual who does not have a severe impairment will not be found to
be disabled

3. A finding of disability will be made without consideration of vocational
factors, if an individual is not working and is suffering from a severe
impairment which meets the duration requirement and which meets or equals

a listed impairment in Appendix 1 to Subpart P of the regulations

4. An individual who can perform work that he has done in the past will not
be found to be disabled

5. If an individual cannot perform his or her past work, other factors including

age, education, past work experience and residual functional capacity must be

considered to determine if other work can be performed
Willbanks v. Secretary, 847 F.2d 301 (6th Cir. 1988). Further review is not necessary if it
is determined that an individual is not disabled at any point in this sequential analysis 20
C.F .R. § 404.1520(a). Here, the sequential analysis proceeded to the fourth step. The ALJ

found that Plaintiff could perform his past relevant work. Plaintiff argues that the

Commissioner erred in finding that his testimony regarding his limitations was not supported

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 5 of 9 Page|D 8

by the medical evidence and in finding that his past relevant work was not precluded by his
residual functional capacity.

Plaintiff testified that the could walk for thirty minutes, sit for forty»five minutes, and
lift approximately ten to fifteen pounds R. at 199-200. A plaintiffs statement, taken alone,
will not establish that he is disabled; instead, there must be objective medical findings which
show the existence of a medical impairment that could reasonably be expected to give rise
to the pain alleged C.F.R. § 404,] 529(a). Plaintiff has pointed to no such objective medical
findings

Plaintiff relies, in part, on the opinions of J ames P. Lester, M.D., Grafton Thurman,
M.D., and M.A. Blanton, III, M.D. Dr. Lester, a state agency physician, noted that (l)
Plaintiff’s ankle was fused in neutral, (2) he had advanced degenerative joint disease in his
right knee with “virtually bone on bone”, and (3) he suffered from degenerative joint disease
at L3-4 and L4-5. R. at 128. Dr. Thurman also found that Plaintiff had degenerative disc
disease at L3-4 and L4-5. R. at 124. Dr. Blanton determined that Plaintiff was experiencing
pain in his lower extremity, had limited range of motion, loss of j oint surface, and “severe
trophic changes and anatomical distortion.” R. at 151-52.

Dr. Lester and Dr. Thurman indicated that Plaintiff was unable to sit for the entirety
of an eight-hour workday.' Dr. Lester stated that Plaintiff would be able to climb

occasionally while Dr. Blanton said that he should never climb. Additionally, Dr. Karl

 

1 They both opined that Plaintiff could sit for a total of six hours in an eight hour day. R. at 125, 127. Dr.
Blanton, liowever, found that Plaintiffs sitting was not affected by his impairments R. at 152.

5

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 6 of 9 Page|D 9

Studtmann of the West Tennessee ENT Clinic, determined that Plaintiff suffered from
hearing loss2 R. at 148-49.

The ALJ correctly gave controlling weight to the opinion of Dr. Blanton, Plaintiff’s
treating physician A treating physician's opinions receive great weight if, as here, they are
supported by sufficient clinical findings and are consistent with the evidence Young v.
Secretary of Health and Human Services, 925 F.Zd l46, 151 (6th Cir. 1990). Dr. Blanton
assessed Plaintiff’s ability to perform work related activities as follows: able to lift a
maximum often pounds occasionally and five pounds frequently; able to stand/walk a total
of three hours in an eight hour day, thirty minutes without interruption; able to sit a total of
eight hours in an eight hour day; cannot climb, kneel, crouch, or crawl and can occasionally
stoop and balance; cannot perform push/pull activities; should not be exposed to heights
R. at 16 (citing November 19, 2003, assessment at R. 151-53). The opinions of Dr. Lester
and Dr. Thurman are consistent with those of Dr. Blanton.

Because the medical record does not support Plaintiff’s testimony, this argument is
without merit.

Next, Plaintiff argues that the ALJ erred in finding that his past relevant work was
not precluded by his residual functional capacity. Accoi'ding to Plaintiff, the vocational

assessment prepared by the sate agency was not an accurate description of his past work,

 

2 Dr. Lester found no hearing or speaking limitations R. at 129. Furtliermore, Plaintiff did not return for

treatment by Dr. Studtmann or for a repeat audiogram per Dr. Studtmann’s instructions R. at 149. Tlius, the ALJ was
warranted in not finding that Plaintiff had any limitations regarding his hearing.

6

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 7 of 9 Page|D 10

with the exception of “soil conservationist.” This argument, also, is without merit.
Although the assessment refers to Plaintiff’s past jobs as they are generally performed in the
national economy according to the Dicti`onai’y of Occupati`onal Ti`tles (“DOT”), the ALJ
found that Plaintiff could perform his past work as he performed it. R. at 20, 71-78. The
Commissioner may rely on the requirements of the job either as the claimant performed it
g as it is generally performed in the national economy. See Studawavv. Secretarv, 815 F.2d
1074, 1076 (6"‘ Cir. 1987) (A claimant must prove that he is unable to perform his past
relevant work and that he is unable to return to his former type of work as generally
perfonned.) _S_ee_ alj Social Security Ruling 82-61.

Plaintiff contends that he is precluded from his former work as a bank agricultural
representative because he is no longer able to climb onto farm equipment to evaluate its
value. Although Dr. Blanton restricted Plaintiff from climbing, R. at 152, Plaintiff’s self-
reported work history as an agricultural representative does not indicate that his former work
involved climbing. R. at l72. However, even if Plaintiff could not return to this work, he
could still perform his past relevant work as a grain merchandiser, which does not involve
climbing. Although Plaintiff testified that he could not perform this job because of his
hearing loss, as noted above, Plaintiff has failed to establish that he had any job related

impairments due to his hearing loss

Case 1:04-cv-01335-.]DT-STA Document 8 Filed 06/09/05 Page 8 of 9 Page|D 11

Because there is substantial evidence in the record supporting the Commissioner's
decision denying Plaintiffs application for benefits, the decision of the Commissioner is
AFFIRMED. The clerk is directed to enter judgment accordingly

IT lS SO ORDERED.

nw

J ES D. TODD
ITED STATES DISTRICT .TUDGE

dial/mcalva

DATE

 

UNIED` sAttEs itRict oURt - wE ERNDistcRit or ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:04-CV-01335 was distributed by fax, mail, or direct printing on
.lune 9, 2005 to the parties listed

 

 

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/leinphis7 TN 38103

Marianna G. Willianis

ASHLEY ASHLEY & ARNOLD
322 Church Street

Dyersburg, TN 38025

Honorable .l ames Todd
US DISTRICT COURT

